                                      Case 24-10320                  Doc 1          Filed 03/02/24          Page 1 of 2

 Fill in this information to identify your case:

 Debtor 1           NERDWALLET            , INC.       XX-XXXXXXX
                    ________________________________________________________________
                     First Name             Middle Name                 Last Name

 Debtor 2           CITY  OF SYRACUSE                  XX-XXXXXXX
                    ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                 Last Name


 United States Bankruptcy Court for the: __________ District
                                                    Districtofof___________
                                                                 __________

 Case number         ___________________________________________
  (If known)

                                                                                                                                               
                                                                                                                                               ✔ Check if this is an
                                                                                                                                                    amended filing



Official Form 103A
Application for Individuals to Pay the Filing Fee in Installments                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.


 Part 1:           Specify Your Proposed Payment Timetable


 1. Which chapter of the Bankruptcy Code                         ✔ Chapter 7
                                                                 
      are you choosing to file under?
                                                                  Chapter 11
                                                                  Chapter 12
                                                                  Chapter 13

 2. You may apply to pay the filing fee in up to
      four installments. Fill in the amounts you                 You propose to pay…
      propose to pay and the dates you plan to
      pay them. Be sure all dates are business
      days. Then add the payments you propose               99,999,999,999.00             With the filing of the         03/02/2024
                                                              $_____________               petition                       ______________
      to pay.
                                                                                         ✔
                                                                                          On or before this date........ MM / DD / YYYY
      You must propose to pay the entire fee no
      later than 120 days after you file this                 9,999,999,999.00                                                 03/02/2024
      bankruptcy case. If the court approves your              $_____________             On or before this date ...........   ______________
      application, the court will set your final                                                                               MM   /   DD / YYYY
      payment timetable.                                    99,999,999,999.00                                                  03/02/2024
                                                                                                                               ______________
                                                                 $_____________           On or before this date ...........
                                                                                                                               MM   /   DD / YYYY
                                                            99,999,999,999.00                                                  03/02/2024
                                                                                                                               ______________
                                                           + $_____________               On or before this date ...........
                                                                                                                               MM   /   DD / YYYY


                                                 Total
                                                          999,999,999,999.00
                                                             $______________             ◄ Your total must equal the entire fee for the chapter you checked in line 1.

 Part 2:           Sign Below

  By signing here, you state that you are unable to pay the full filing fee at once, that you want to pay the fee in installments, and that you
  understand that:

        You must pay your entire filing fee before you make any more payments or transfer any more property to an attorney, bankruptcy petition
         preparer, or anyone else for services in connection with your bankruptcy case.

        You must pay the entire fee no later than 120 days after you first file for bankruptcy, unless the court later extends your deadline. Your
         debts will not be discharged until your entire fee is paid.

        If you do not make any payment when it is due, your bankruptcy case may be dismissed, and your rights in other bankruptcy proceedings
         may be affected.

 _________________________________
  NERDWALLET , INC.                 ___________________________________
                                      CITY OF SYRACUSE                                                      _______________________________________
                                                                                                              WILLIE JOHNSON
      Signature of Debtor 1                               Signature of Debtor 2                                  Your attorney’s name and signature, if you used one

               03/02/2024
      Date _________________                              Date
                                                                  03/02/2024
                                                                  ________________                               Date
                                                                                                                         03/02/2024
                                                                                                                        _________________
           MM / DD / YYYY                                          MM / DD / YYYY                                       MM / DD / YYYY



Official Form 103A                                        Application for Individuals to Pay the Filing Fee in Installments
                                          Case 24-10320                Doc 1             Filed 03/02/24         Page 2 of 2


 Fill in this information to identify the case:


 Debtor 1           NERDWALLET            , INC.       XX-XXXXXXX
                    ________________________________________________________________
                     First Name                  Middle Name                 Last Name

 Debtor 2           CITY  OF SYRACUSE                  XX-XXXXXXX
                    ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name                 Last Name


 United States Bankruptcy Court for the: __________ District of ___________ District of ________
                                         ___________________________

 Case number         ___________________________________________
  (If known)
 Chapter filing under:
                                                                              Chapter 7
                                                                              Chapter 11
                                                                              Chapter 12
                                                                              Chapter 13




Order Approving Payment of Filing Fee in Installments

After considering the Application for Individuals to Pay the Filing Fee in Installments (Official Form 103A), the
court orders that:

[ ] The debtor(s) may pay the filing fee in installments on the terms proposed in the application.

[✔] The debtor(s) must pay the filing fee according to the following terms:



                             You must pay…                On or before this date…


                        99,999,999,999.00                  03/02/2024
                                                           _____________
                             $_____________             Month / day / year

                        99,999,999,999.00
                          $_____________                   03/02/2024
                                                           _____________
                                                        Month / day / year

                        99,999,999,999.00
                          $_____________                   03/02/2024
                                                           _____________
                                                        Month / day / year

                       +99,999,999,999.00
                          $_____________
                                                           03/02/2024
                                                           _____________
                                                        Month / day / year

       Total             99,999,999,999.00
                           $_____________




     Until the filing fee is paid in full, the debtor(s) must not make any additional payment or transfer any
     additional property to an attorney or to anyone else for services in connection with this case.




                            _____________                  By the court: _____________________________________
                            Month / day / year                                 United States Bankruptcy Judge
